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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )          CASE NO. 8:12CR391
                                           )
                      Plaintiff,           )
                                           )
       -vs-                                )                ORDER
                                           )
Michael Blackstone,                        )
                                           )
                      Defendant.           )
                                           )

       This matter comes before the Court on the request of the Federal Public Defender

for the Court to authorize Karen L. Vervaecke, as a Criminal Justice Act Training Panel

Member, to assist in the defense of Michael Blackstone.

       Accordingly, pursuant to the terms of Appendix I, Part 1(c) of the Amended Criminal

Justice Act Plan for the District of Nebraska, Karen Vervaecke is hereby assigned to assist

the CJA Panel Attorney Stuart Dornan in the representation of the Defendant in the above-

captioned case, and must file an entry of appearance forthwith. Karen Vervaecke shall not

be eligible to receive compensation for her services in this case.

       CJA Stuart Dornan shall continue to be primary counsel on behalf of the Defendant,

Michael Blackstone.

       Dated: January 24, 2013

                                   BY THE COURT:

                                   s/ Thomas D. Thalken
                                   United States Magistrate Judge
